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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION


 ALEXANDRIA MOSNESS,                             Case No. 3:20-CV-308-DJH

                     Plaintiff,

                       – v. –

 USAA SAVINGS BANK,

                    Defendant.



                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, ALEXANDRIA MOSNESS (“Plaintiff”), by and through her undersigned

counsel, hereby sues Defendant, USAA SAVINGS BANK (“Defendant”), alleging as follows:

                                            INTRODUCTION

   1. Plaintiff brings this action on behalf of herself individually seeking damages and any other

available legal or equitable remedies resulting from the illegal actions of Defendant, in

negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in

violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

   2. The TCPA was legislated to prevent companies like USAA Savings Bank from invading

Americans’ privacy by stopping abusive “robo-calls.” The legislative history “described these

calls as ‘the scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended

to give telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio

v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255-56 (11th Cir. 2014).
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                                    JURISDICTION AND VENUE

    3. Jurisdiction of this Court arises under 28 U.S.C. §1331 and 47 U.S.C. § 227(b)(3). See

Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012) holding that federal and state courts

have concurrent jurisdiction over private suits arising under the TCPA.

    4. Venue is proper in the United States District Court for the Western District of Kentucky

pursuant to 28 U.S.C § 1391(b)(2) because Plaintiff resided within this District during all times

relevant to the complaint, and a substantial part of the events or omissions giving rise to the herein

claims occurred within this district.

    5. The violations described in this Complaint occurred in Kentucky.

                                                 PARTIES

    6. Plaintiff is a natural person, who at all times relevant to this complaint resided in Jefferson

County, in the city of Louisville, Kentucky, and was otherwise sui juris.

    7. Defendant is a Nevada corporation with its principal place of business located in Las

Vegas, Nevada. Defendant is a “person” as defined by 47 U.S.C. §153 (39).

    8. At all times relevant to this Complaint, Defendant has acted through its agents, employees,

officers, members, directors, corporate affiliates, heirs, successors, assignees, principals, trustees,

sureties, subrogees, representatives and insurers.

                                      FACTUAL ALLEGATIONS

    9. USAA Savings Bank placed collection calls to Plaintiff seeking and attempting to collect

on alleged debts incurred under a credit card agreement issued by Defendant, USAA Savings

Bank. On information and belief, USAA Savings Bank delegated to one or more corporate

affiliates the task of calling Plaintiff’s cell phone.

    10. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.3d 1265

(11th Cir. 2014).


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   11. Defendant placed automated calls to Plaintiff’s cellular telephone at phone number (210)

XXX-9984.

   12. Defendant placed calls to Plaintiff from various telephone numbers including, but not

limited to, (800) 531-8722.

   13. Upon information and belief based on the great number, frequency and timing of the calls,

and upon Defendant’s prior business practices, Defendant’s calls were placed with an automatic

telephone dialing system.

   14. Defendant used an “automatic telephone dialing system,” as defined by 47 U.S.C. §

227(a)(1), to place telephone calls to Plaintiff on her cellular phone, seeking to collect a consumer

debt allegedly owed by Plaintiff.

   15. Defendant’s calls were not for emergency purposes, which would be excepted by 47

U.S.C. § 227(b)(1)(A).

   16. Defendant’s calls were placed to a telephone number assigned to a cellular telephone

service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §227(b)(1).

   17. Defendant never received Plaintiff’s “prior express consent” to receive calls using an

automatic telephone dialing system or an artificial or prerecorded voice on her cellular telephone

pursuant to 47 U.S.C. § 227(b)(1)(A).

   18. On or about August 8, 2019, Plaintiff called Defendant’s company at phone number (800)

531-8722, spoke with Defendant’s representative and told Defendant to stop calling her cellular

phone.

   19. During the aforementioned conversation, Plaintiff gave Defendant her full name, pin

number, account password and telephone number, in order to assist Defendant in identifying her

and accessing her accounts before asking Defendant to stop calling her cellular telephone.

Defendant’s representative acknowledged Plaintiff’s request and indicated Defendant would

remove the phone number from the system.



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    20. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone

and/or to receive Defendant’s calls using an automatic telephone dialing system in her

conversation with Defendant’s representative on August 8, 2019.

    21. Despite Plaintiff’s request to cease, Defendant continued to place calls to Plaintiff’s

cellular phone after August 8, 2019.

    22. Defendant continued to place as much as 5 calls per day to Plaintiff’s cellular telephone,

at least through October 2019.

    23. Despite Plaintiff’s request that Defendant cease placing automated collection calls to

Plaintiff via the use of an automatic telephone dialing system, Defendant continued to place at

least one hundred thirty-eight (138) telephone calls using an automatic telephone dialing system

to Plaintiff’s cellular telephone.

    24. Defendant placed the great number of autodialed telephone calls to Plaintiff with the sole

intention of harassing Plaintiff in such a manner so as to cause Plaintiff to pay the alleged debt

claimed by Defendant, even when Plaintiff admittedly had impaired ability to pay. This telephonic

harassment caused Plaintiff considerable anxiety and emotional distress.

                         FIRST CAUSE OF ACTION
     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION
                      ACT - 47 U.S.C. §227(b)(3)(B)

    25. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

forth above at Paragraphs 1-24.

    26. The foregoing acts and omissions of Defendant constitute numerous and multiple

negligent violations of the TCPA, including but not limited to each and every one of the above

cited provisions of 47 U.S.C. § 227 et seq.

    27. As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq., Plaintiff is

entitled to an award of $500.00 in statutory damages, for each and every violation, pursuant to 47

U.S.C. § 227(b)(3)(B).

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    28. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the future.

    WHEREFORE, Plaintiff, ALEXANDRIA MOSNESS, respectfully requests judgment be

entered against Defendant, USAA SAVINGS BANK, as follows:

        a.          Awarding Plaintiff statutory damages of five hundred dollars ($500.00) multiplied

by the number of negligent violations of the TCPA alleged herein, to wit: one hundred thirty-eight

(138) for a total of sixty-nine thousand dollars ($69,000.00);

        b.          Awarding Plaintiff actual damages and compensatory damages according to proof

at time of trial;

        c.          Granting Plaintiff such other and further relief as may be just and proper.

                          SECOND CAUSE OF ACTION
             KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
                        CONSUMER PROTECTION ACT
                             47 U.S.C. § 227(b)(3)(C)
    29. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

forth above at Paragraphs 1-24.

    30. The above listed acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one

of the above cited provisions of 47 U.S.C. § 227 et seq.

    31. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,

Plaintiff is entitled an award of one thousand five hundred dollars ($1,500.00) in statutory

damages for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

    32. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the future.

    WHEREFORE, Plaintiff, ALEXANDRIA MOSNESS, respectfully requests judgment be

entered against Defendant, USAA SAVINGS BANK, as follows:


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        a.          Awarding Plaintiff statutory damages statutory damages of one thousand five

hundred dollars ($1,500.00) multiplied by the number of knowing and/or willful violations of

TCPA alleged herein, to wit: one hundred thirty-eight (138) for a total of two hundred seven

thousand dollars ($207,000.00);

        b.          Awarding Plaintiff actual damages and compensatory damages according to proof

at time of trial;

        c.          Granting Plaintiff such other and further relief as may be just and proper.

                                          JURY TRIAL DEMAND

    Plaintiff demands a jury trial on all issues so triable.


        Dated: April 29, 2020

                                   RESPECTFULLY SUBMITTED,

                                                  By:     /s/ Joseph E. Blandford , Jr.
                                                          Joseph E. Blandford, Jr.
                                                          1387 S. Fourth Street
                                                          Louisville, KY 40208
                                                          502-636-4615
                                                          Fax: 502-634-9119
                                                          Email: jeblaw@bellsouth.net
                                                          Attorney for Plaintiff, Alexandria Mosness

                                                  By:     /s/ Carlos C. Alsina-Batista
                                                          Carlos C. Alsina-Batista -CA Bar # 327286
                                                          Attorney for Plaintiff, Alexandria Mosness
                                                          The Law Offices of Jeffrey Lohman, P.C.
                                                          28544 Old Town Front St., Suite 201
                                                          Temecula, CA 92590
                                                          T: (657) 363-3331
                                                          F: (714) 888-4528
                                                          Pro Hac Vice petition to follow




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